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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7
      CUREVO, INC.,
                                                               NO. C19-0572RSL
 8
                           Plaintiff,

 9
                    v.                                         ORDER DENYING DEFENDANT’S
                                                               MOTION TO SEAL
10
      SENYON TEDDY CHOE,

11
                           Defendant.

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            This matter comes before the Court on “Defendant Choe’s Motion to Seal Declaration of
14

15   Irene Choe in Support of Defendant’s Motion to Dismiss for Lack of Subject Matter

16   Jurisdiction.” Dkt. # 85. Defendant did not make a good faith effort to meet and confer regarding
17   the need to file the declaration under seal, having provided plaintiff with less than two hours to
18
     respond to her inquiry before filing the document. Because neither party has attempted to
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     overcome the strong presumption in favor of public access to the court’s files (LCR 5(g)), the
20
     motion to seal is DENIED. The Clerk of Court is directed to unseal Dkt. # 86.
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23
            Dated this 27th day of October, 2020.
24

25                                              Robert S. Lasnik
                                                United States District Judge
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27
     ORDER DENYING DEFENDANT’S
28   MOTION TO SEAL - 1
